Case 2:11-cr-20706-JJCG-MAR ECF No. 42, PageID.268 Filed 07/23/12 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 11-20706

QUENTIN SHERER,

              Defendant.
                                          /

     ORDER DIRECTING THE GOVERNMENT TO FILE SUPPLEMENTAL BRIEF

       In this bank-robbery prosecution, the Government has filed a motion in limine

seeking the admission of evidence concerning Defendant Quentin Sherer’s involvement

in two earlier bank robberies. While other crimes are typically considered inadmissible

to show character or action in conformity therewith under Federal Rule of Evidence

404(b), the Government argues that Defendant’s previous robberies are sufficiently

similar to the robbery in question to establish an identifying pattern, or perhaps a modus

operandi, that supports the identification of Defendant as the perpetrator.

       Due to the fact-intensive nature of a determination whether “standard conduct . . .

constitute[s] a signature” distinct enough to be probative on the issue of identity, see

United States v. Mack, 258 F.3d 548, 554 (6th Cir. 2001), prior Sixth Circuit decisions

admitting evidence under this theory rely on a comparison of the specific details of a

defendant’s crimes, see, e.g., United States v. Perry, 438 F.3d 642, 648 (6th Cir. 2006);

Mack, 258 F.3d at 554. To aid the court in this heavily fact-driven inquiry, the

Government has proffered only “a brief description of the relevant facts,” (Pl.’s Mot. in
Case 2:11-cr-20706-JJCG-MAR ECF No. 42, PageID.269 Filed 07/23/12 Page 2 of 3




Limine 3, Dkt. # 28), making it difficult to evaluate the admissibility of the proposed

evidence. The court will therefore direct the Government to file a supplemental brief

recounting the events surrounding Defendant’s bank robberies in more detail, for

example by submitting statements from witnesses to the crimes, portions of transcribed

testimony, or investigative reports.1

       Additionally, the Government should describe with more particularity the

limitations—aside from the jury instruction proposed in the motion—that might

reasonably be used to further mitigate the risk of unfair prejudice posed by the

prior-crime evidence, in the event it is deemed admissible under Rule 404(b). The Sixth

Circuit, for example, has suggested curtailing the more prejudicial aspects of testimony

from victims or witnesses of the prior crimes or, alternatively, presenting the details of

the prior crime through a defense stipulation, the transcript of the plea hearing in which

the defendant admitted to the crime, or testimony of an investigator. See United States

v. Washam, 468 F. App’x 568, 581 (6th Cir. 2012). The Government should make

reasonable efforts to gain Defendant’s concurrence in the form of its anticipated

limitations. Accordingly,




       1
         In inviting the submission of such documents for the purposes of the Rule 404(b)
inquiry, the court takes no position on whether they would ultimately be admissible at
trial. See Fed. R. Evid. 104(a) (“The court must decide any preliminary question about
whether . . . evidence is admissible. In so deciding, the court is not bound by evidence
rules.”).

                                              2
Case 2:11-cr-20706-JJCG-MAR ECF No. 42, PageID.270 Filed 07/23/12 Page 3 of 3




           IT IS ORDERED that the Government is DIRECTED to file a supplemental brief

on or before July 30, 2012. Any response by Defendant must be filed no later than

August 3, 2012.


                                                                      s/Robert H. Cleland
                                                                     ROBERT H. CLELAND
                                                                     UNITED STATES DISTRICT JUDGE

Dated: July 23, 2012


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 23, 2012, by electronic and/or ordinary mail.

                                                                      s/Lisa G. Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522




S:\Cleland\JUDGE'S DESK\C2 ORDERS\11-20706.SHERER.DirectSupplementalBrief404bMotion.tm.set.2.wpd


                                                                          3
